                         Case 3:19-mj-08786-RFC Document 1 Filed 10/07/19 Page 1 of 2
AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Oct 7 2019

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas


                                                                                                             By:

                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:19-M -08786(1) RFC
                                                                         §
(1) MARGARITO GARCIA-GARCIA                                              §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about October 04, 2019 in El Paso county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to the

United States, enter, attempt to enter, or was found in the United States after having been previously excluded, deported, or removed

from the United States without receiving permission to reapply for admission to the United States from the Attorney General of the

United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3), 202(4),

and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a(n) Border Patrol Agent and that this complaint is based on the following facts: " The

DEFENDANT, Margarito GARCIA-Garcia, an alien to the United States and a citizen of Mexico was found north of the Rio

Grande River approximately ten miles west of the Tornillo Port of Entry in San Elizario, Texas in the Western "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                           Signature of Complainant
                                                                                           Apodaca, Vanessa
                                                                                           Border Patrol Agent

October 7, 2019                                                                      at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:19-mj-08786-RFC Document 1 Filed 10/07/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08786(1)

WESTERN DISTRICT OF TEXAS

(1) MARGARITO GARCIA-GARCIA

FACTS (CONTINUED)

District of Texas. From statements made by the DEFENDANT to the arresting agent, the DEFENDANT was
determined to be a native and citizen of Mexico, without immigration documents allowing him to be or remain in
the United States legally. The Defendant has been previously removed from the United States to Mexico on
August 14, 2019 through Hidalgo, Texas. The Defendant has not previously received the expressed consent from
the Attorney General of the United States or the Secretary of Homeland Security to reapply for admission into the
United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT was ordered removed by an Immigration Judge on August 6, 2019.
The DEFENDANT was removed to Mexico on August 14, 2019, through HIDALGO, TEXAS.

CRIMINAL HISTORY:

06/28/2019, Minneapolis, Driving While Intoxicated(M), CNV, 364 Days Confinement; 2 Yrs Probation; $300 Fine.
